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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 KELLYE POSTON,                                 §
                                                §
                                                §
        Plaintiff,                              §
                                                §
 v.                                             §     CIVIL ACTION NO. 4:21-cv-00416-P
                                                §
 NATIONAL CAR CURE, LLC,                        §
                                                §
         Defendant.                             §

              NOTICE OF APPEARANCE OF COUNSEL FOR DEFENDANT

        PLEASE TAKE NOTICE that the following hereby enters an appearance as counsel of

record on behalf of National Car Cure, LLC:

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                                                Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        On May 14, 2021, I filed the foregoing document with the clerk of court for the U.S. District
Court, Northern District of Texas. I hereby certify that I have served the document on all counsel
and/or pro se parties of record by a manner authorized by Federal Rules of Civil Procedure 5(b)(2).


                                                      /s/ Walker Steven Young
                                                      WALKER STEVEN YOUNG




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